                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:01-CR-88-6

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )           ORDER
                                                  )
JOSHUA KAREEM OLIPHANT                            )
                                                  )

       THIS MATTER IS BEFORE THE COURT on its own motion. Clarification has been

requested regarding the Amended Judgment entered in this Court on November 19, 2009

[see doc. 127]. Therefore, the Defendant’s Judgment is to be amended once again to indicate that

the entire federal sentence is to run concurrent with the state sentence imposed.

       IT IS ORDERED that a new J&C be prepared to reflect that the defendant’s entire

federal sentence is to run concurrently with the state sentence.

       IT IS SO ORDERED.

                                                       Signed: January 14, 2009




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